           Case 1:19-cv-00150-DLF Document 71 Filed 10/29/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


Broidy Capital Management LLC et al.,

                              Plaintiffs,

            v.                                               No. 1:19-cv-00150-DLF

Nicolas D. Muzin et al.,

                              Defendants.



                       NOTICE OF APPEARANCE OF COUNSEL

         PLEASE TAKE NOTICE that Eric Roman, Esq. of the law firm of Arent Fox LLP

hereby notices his appearance as counsel of record for Defendant Joseph Allaham. Mr. Allaham

will continue to be represented by Mohammed T. Farooqui, Esq. and Laura E. Zell, Esq. of Arent

Fox LLP.

Dated:    October 29, 2021                        Respectfully submitted,

                                                   /s/ Eric Roman
                                                  Eric Roman (pro hac vice)
                                                  ARENT FOX LLP
                                                  1301 Avenue of the Americas, Floor 42
                                                  New York, NY 10019
                                                  Tel: (212) 492-3283
                                                  Fax: (212) 484-3990
                                                  eric.roman@arentfox.com

                                                  Counsel for Defendant Joseph Allaham
